           Case 2:23-bk-53016                 Doc 1      Filed 08/31/23 Entered 08/31/23 11:19:32                       Desc Main
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Fill in this information to identify your case: 

United States Bankruptcy Court for the:

Southern District of Ohio

Case number (If known):                                    Chapter    11
                                                                                                                                Check if this is an
                                                                                                                                     amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor’s name                             roll: Bicycle Company, LLC


2.    All other names debtor used in the
      last 8 years
      Include any assumed names, trade
      names, and doing business as names




3.    Debtor’s federal Employer
      Identification Number (EIN)               XX-XXXXXXX


4.    Debtor’s address                          Principal place of business                          Mailing address, if different from principal
                                                                                                     place of business

                                                886 Freeway Drive North
                                                Number      Street                                   Number        Street


                                                Columbus                   OH    43229
                                                City                       State Zip Code            City                   State Zip Code

                                                                                                     Location of principal assets, if different
                                                                                                     from principal place of business

                                                FRANKLIN
                                                County                                               Number                 Street



                                                                                                     City                   State Zip Code



5.    Debtor’s website (URL)                    www.rollbicycles.com




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Debtor       roll: Bicycle Company, LLC                                                           Case number (if known)
             Name


6.   Type of debtor                               Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  Partnership (excluding LLP)
                                                  Other. Specify:


7.   Describe debtor’s business:              A. Check one:
                                                  Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                  Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                  Railroad (as defined in 11 U.S.C. § 101(44))
                                                  Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                  Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                  Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                  None of the above


                                              B. Check all that apply:
                                                  Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                  Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §
                                                   80a-3)
                                                  Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                              C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   3399


8.   Under which chapter of the               Check one:
     Bankruptcy Code is the debtor
                                                  Chapter 7
     filing?
                                                  Chapter 9
                                                  Chapter 11. Check all that apply:
     A debtor who is a “small business                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     debtor” must check the first sub-box.                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     A debtor as defined in § 1182(1) who                                affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     elects to proceed under subchapter V                                recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not the                                   income tax return or if any of these documents do not exist, follow the procedure in
     debtor is a “small business debtor”)                                11 U.S.C. § 1116(1)(B).
     must check the second sub-box.
                                                                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                         noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                         less than $7,500,000, and it chooses to proceed under Subchapter V of Chapter
                                                                         11. If this sub-box is selected, attach the most recent balance sheet, statement of
                                                                         operations, cash-flow statement, and federal income tax return, or if any of these
                                                                         documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                        A plan is being filed with this petition.
                                                                        Acceptances of the plan were solicited prepetition from one or more classes of
                                                                         creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                        The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                         Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                         Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                         Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                        The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                         Rule 12b-2.
                                                  Chapter 12




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Debtor        roll: Bicycle Company, LLC                                                           Case number (if known)
              Name



9.    Were prior bankruptcy cases filed               No
      by or against the debtor within the
      last 8 years?                                   Yes. District                                   When                      Case number
                                                                                                               MM/DD/YYYY
      If more than 2 cases, attach a
      separate list.                                          District                                 When                      Case number
                                                                                                               MM/DD/YYYY



10.   Are any bankruptcy cases pending                No
      or being filed by a business partner
      or an affiliate of the debtor?                                      roll: Development Company,
                                                      Yes. Debtor        LLC                                         Relationship      Affiliate
      List all cases. If more than 1, attach a
      separate list.                                          District    S.D. Ohio                                   When              8/31/2023
                                                                                                                                        MM/DD/YYYY


                                                              Case number, if known


11.   Why is the case filed in this               Check all that apply:
      district?
                                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                                       days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                                       any other district.
                                                      A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                                       district.


12.   Does the debtor own or have                     No
      possession of any real property or
      personal property that needs                    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      immediate attention?                                  Why does the property need immediate attention? (Check all that apply.)
                                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health
                                                                  or safety.
                                                                  What is the hazard?
                                                                 It needs to be physically secured or protected from the weather.
                                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                                  attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                                  related assets or other options).
                                                                 Other



                                                             Where is the property?
                                                                                            Number                     Street




                                                                                            City                                State        ZIP Code


                                                            Is the property insured?
                                                                 No
                                                                 Yes. Insurance agency

                                                                          Contact name

                                                                          Phone




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Debtor        roll: Bicycle Company, LLC                                                        Case number (if known)
              Name



            Statistical and administrative information

13.   Debtor’s estimation of available         Check one:
      funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                     creditors.


14.   Estimated number of creditors                 1-49                                  1,000-5,000                         25,001-50,000
                                                    50-99                                 5,001-10,000                        50,001-100,000
                                                    100-199                               10,001-25,000                       More than 100,000
                                                    200-999


15.   Estimated assets                              $0-$50,000                            $1,000,001-$10 million              $500,000,001-$1 billion
                                                    $50,001-$100,000                      $10,000,001-$50 million             $1,000,000,001-$10 billion
                                                    $100,001-$500,000                     $50,000,001-$100 million            $10,000,000,001-$50 billion
                                                    $500,001-$1 million                   $100,000,001-$500 million           More than $50 billion


16.   Estimated liabilities                         $0-$50,000                            $1,000,001-$10 million              $500,000,001-$1 billion
                                                    $50,001-$100,000                      $10,000,001-$50 million             $1,000,000,001-$10 billion
                                                    $100,001-$500,000                     $50,000,001-$100 million            $10,000,000,001-$50 billion
                                                    $500,001-$1 million                   $100,000,001-$500 million           More than $50 billion




            Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified
      authorized representative of debtor            in this petition.
                                                     I have been authorized to file this petition on behalf of the debtor.
                                                     I have examined the information in this petition and have a reasonable belief that the information is
                                                     true and correct.


                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on      8/31/2023
                                                                     MM / DD / YYYY

                                                  /s/ Stuart Hunter                                        Stuart Hunter
                                                 Signature of authorized representative of debtor         Printed name


                                                     Title    Manager / CEO




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Debtor       roll: Bicycle Company, LLC                                             Case number (if known)
             Name



18.   Signature of attorney
                                             /s/ James Coutinho
                                              Signature of attorney for debtor
                                                                                               Date      8/31/2023
                                                                                                         MM / DD / YYYY



                                                James A. Coutinho
                                                Printed name

                                                Allen Stovall Neuman & Ashton LLP
                                                Firm name

                                                10 West Broad Street, Suite 2400
                                                Number          Street

                                                Columbus                                         OH              43215
                                                City                                             State           ZIP Code


                                                (614) 221-8500                                   coutinho@asnalaw.com
                                                Contact Phone                                    Email address



                                                0082430                                          Ohio
                                                Bar number                                       State




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                                 Attachment to Petition
In accordance with 11 U.S.C. § 1116(1)(A), the Debtor attaches the following documents:

   1.   The Debtor’s most recent Balance Sheet from January through July 2023;
   2.   The Debtor’s most recent Profit and Loss Statement from January through July 2023;
   3.   The Debtor’s most recent Cash Flow Statement; and
   4.   The most recent Federal Tax Return.

The Debtor does not file its own tax returns; rather, all of the Debtor’s federal tax affairs are
handled through its parent company, roll: Holdings, LLC. The return attached is for roll: Holdings,
LLC.

These are unaudited financial statements. Although the Debtor uses its best efforts to be accurate
in its record keeping and accounting, the Debtor reserves the right to adjust for mistakes or other
errors, and to further clarify (within the forthcoming schedules) matters which may be included in
the accounting records for tax purposes but which do not match the present assets and liabilities
of the Debtor (e.g. book value versus market value).
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                                               roll: Bicycle Company
                                                           Balance Sheet
                                                       As of July 31, 2023


                                                                                                             TOTAL
ASSETS
 Current Assets
 Bank Accounts
  1002 Customer Payments In Transit                                                                            0.00
  1004 Clearing                                                                                                0.00
  1005 Fifth Third Checking #9381                                                                         24,687.02
 Total Bank Accounts                                                                                  $24,687.02
 Accounts Receivable
  1101 Accounts Receivable (A/R)                                                                          75,474.62
 Total Accounts Receivable                                                                            $75,474.62
 Other Current Assets
  1100 Prepaid Inventory/Expenses                                                                              0.00
  1102 Due From (To) RDC                                                                              392,116.66
  1201 Freight-In                                                                                     225,125.58
  1202 Inventory                                                                                      447,900.12
  1203 Inventory Asset                                                                                         0.00
  1204 Purchases                                                                                      512,569.59
  1206 Import Duties                                                                                      13,715.93
  1301 Uncategorized Asset                                                                                     0.00
  1302 Undeposited Funds                                                                                     658.37
 Total Other Current Assets                                                                         $1,592,086.25
 Total Current Assets                                                                               $1,692,247.89
 Fixed Assets
 1401 Contributed Furniture & Equipment                                                                    6,243.05
 1402 Accumulated Depreciation - Contributed Furniture & Equipment                                         -6,243.05
 1403 Website Development                                                                                 76,435.00
 1404 Accumulated Amortization - Website Development                                                      -76,435.00
 1405 Printing & Cutting Dies                                                                              5,762.00
 1406 Accumulated Depreciation - Printing & Cutting Dies                                                   -5,762.00
 Total Fixed Assets                                                                                           $0.00
 Other Assets
 1501 Security Deposit                                                                                     3,947.00
 Total Other Assets                                                                                       $3,947.00
TOTAL ASSETS                                                                                        $1,696,194.89

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable
   2001 Accounts Payable (A/P)                                                                            28,548.99
  Total Accounts Payable                                                                              $28,548.99
  Credit Cards
   2002 American Express                                                                              145,159.29
   2003 Chase Ink                                                                                              0.00


                                Accrual Basis Wednesday, August 30, 2023 07:05 PM GMT-04:00                      1/2
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                                                   roll: Bicycle Company
                                                           Balance Sheet
                                                          As of July 31, 2023


                                                                                                                 TOTAL
   STUART HUNTER (1005) - 7                                                                                    -5,943.42
  Total Credit Cards                                                                                      $139,215.87
  Other Current Liabilities
   2005 Shareholder Loans                                                                                  323,336.34
    Short Term Loan Payable                                                                                   26,885.47
   Total 2005 Shareholder Loans                                                                            350,221.81
   2006 Flexport LOC                                                                                               0.00
   2007 Fifth Third LOC                                                                                    488,112.02
   2008 Other Accured Liabilities                                                                                  0.00
   2011 5/3CC Term Note                                                                                            0.00
   2100 Accrued Payroll Liability                                                                                  0.00
   2103 Unearned Income - Retail                                                                                   0.00
   2104 Unearned Income - Wholesale RP                                                                             0.00
   2105 Unearned Income - Wholesale RDC                                                                            0.00
   2106 Gift Cards                                                                                                50.00
   2301 Ohio Payable                                                                                               0.00
   2302 Sales Tax Payable (Old)                                                                                    0.00
   2303 Sales Tax Payable                                                                                        999.49
   2304 Ohio Department of Taxation Payable                                                                        0.00
   None Payable                                                                                                    0.00
  Total Other Current Liabilities                                                                         $839,383.32
 Total Current Liabilities                                                                              $1,007,148.18
 Long-Term Liabilities
  2201 Notes Payable                                                                                       215,447.10
  2202 Accrued Interest on Note Payable                                                                    123,638.98
  2203 Term Note-5th/3rd                                                                                   758,502.50
 Total Long-Term Liabilities                                                                            $1,097,588.58
 Total Liabilities                                                                                      $2,104,736.76
 Equity
 3001 Contributed Capital
  3002 S Hunter                                                                                               56,761.16
 Total 3001 Contributed Capital                                                                               56,761.16
 3004 Opening Balance Equity                                                                                   8,746.04
 3101 Owner Draws                                                                                             -10,125.00
 3201 Retained Earnings                                                                                   -352,104.19
 Net Income                                                                                               -111,819.88
 Total Equity                                                                                            $ -408,541.87
TOTAL LIABILITIES AND EQUITY                                                                            $1,696,194.89




                                    Accrual Basis Wednesday, August 30, 2023 07:05 PM GMT-04:00                      2/2
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                                                roll: Bicycle Company
                                                       Profit and Loss
                                                      January - July, 2023


                                                                                                             TOTAL
Income
 4001 Retail Sales                                                                                     229,413.57
 4002 Wholesale - RP                                                                                       91,523.46
 4006 Wholesale - RDC                                                                                      55,551.81
 4007 Shipping Income                                                                                       9,443.43
 4008 Customer Discounts                                                                                   -9,604.06
Total Income                                                                                          $376,328.21
Cost of Goods Sold
 5001 Cost of Goods Sold                                                                               207,638.58
 5002 Inventory Adjustments                                                                                 1,853.84
 5003 Shipping                                                                                             17,419.07
 5004 Cost of Goods Sold - Other                                                                           -5,231.96
Total Cost of Goods Sold                                                                              $221,679.53
GROSS PROFIT                                                                                          $154,648.68
Expenses
 6102 Wage, Contract Labor, and Related Taxes
  6103 Salary - Wages                                                                                      86,682.75
  6104 Hourly - Wages                                                                                       1,644.35
  6105 Salary - Taxes                                                                                       6,931.87
  6106 Hourly - Taxes                                                                                        171.84
  6107 Salary - BWC                                                                                          442.66
  6110 401K                                                                                                 2,971.41
  6111 Benefits- Health and Dental                                                                              0.00
 Total 6102 Wage, Contract Labor, and Related Taxes                                                        98,844.88
 6200 Other SG&A Expenses
  6001 Advertising & Marketing                                                                              6,725.85
  6003 Car & Truck                                                                                           997.50
  6005 Computer, Website, Software Expenses                                                                  780.10
  6006 Dues and Subscriptions                                                                                 45.00
  6008 Travel                                                                                              12,838.12
  6009 Commissions                                                                                         14,648.30
  6010 Tools, Supplies Expense                                                                              2,350.26
  6101 Contractors                                                                                           164.94
  6201 Rent & Lease                                                                                        34,063.11
  6204 Repairs & Maintenance                                                                                 957.45
  6205 Utilities                                                                                            6,585.85
  6301 Legal & Professional Services                                                                        9,936.00
  6401 Meals & Entertainment                                                                                 619.50
  6402 Office Supplies & Software                                                                           1,172.03
  6500 Recruiting                                                                                            230.00
  8002 Bank Charges & Merchant Fees                                                                         1,988.34
  8007 QuickBooks Payments Fees                                                                             3,846.17
 Total 6200 Other SG&A Expenses                                                                            97,948.52



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                                            roll: Bicycle Company
                                                  Profit and Loss
                                                 January - July, 2023


                                                                                                        TOTAL
Total Expenses                                                                                    $196,793.40
NET OPERATING INCOME                                                                              $ -42,144.72
Other Expenses
 6501 Other Miscellaneous Expense                                                                      5,166.93
 8001 Interest Expense                                                                                64,508.23
Total Other Expenses                                                                               $69,675.16
NET OTHER INCOME                                                                                  $ -69,675.16
NET INCOME                                                                                       $ -111,819.88




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                                                    roll: Bicycle Company
                                                     Statement of Cash Flows
                                                         Since May 23, 2023


                                                                                                               TOTAL
OPERATING ACTIVITIES
 Net Income                                                                                                 -28,555.37
 Adjustments to reconcile Net Income to Net Cash provided by operations:
  1101 Accounts Receivable (A/R)                                                                            -23,770.92
  1102 Due From (To) RDC                                                                                137,706.68
  1201 Freight-In                                                                                           -10,970.22
  1202 Inventory                                                                                            -24,040.03
  1204 Purchases                                                                                        107,478.10
  1206 Import Duties                                                                                        -13,715.93
  2001 Accounts Payable (A/P)                                                                               16,121.13
  2002 American Express                                                                                     -31,008.36
  STUART HUNTER (1005) - 7                                                                                   -5,714.25
  2007 Fifth Third LOC                                                                                        -114.22
  2011 5/3CC Term Note                                                                                  -128,606.45
  2103 Unearned Income - Retail                                                                             11,897.39
  2303 Franklin County Payable                                                                                 772.51
  None Payable                                                                                                   0.00
  Shareholder Loans:Short Term Loan Payable                                                                 26,885.47
 Total Adjustments to reconcile Net Income to Net Cash provided by operations:                              62,920.90
Net cash provided by operating activities                                                               $34,365.53
FINANCING ACTIVITIES
 2203 Term Note-5th/3rd                                                                                     -20,528.79
 3004 Opening Balance Equity                                                                                 8,746.04
Net cash provided by financing activities                                                              $ -11,782.75
NET CASH INCREASE FOR PERIOD                                                                            $22,582.78
Cash at beginning of period                                                                                 18,539.96
CASH AT END OF PERIOD                                                                                   $41,122.74




                                            Tuesday, August 22, 2023 01:47 AM GMT-04:00                            1/1
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                                                                              EXTENSION GRANTED TO 09/15/23
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Form
                                                 1065                                               U.S. Return of Partnership Income                                                                                           OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service
                                                                              For calendar year 2022, or tax year beginning                             ,
                                                                                              Go to www.irs.gov/Form1065 for instructions and the latest information.
                                                                                                                                                                        , ending                         ,              .
                                                                                                                                                                                                                                   2022
A                                               Principal business activity                   Name of partnership                                                                                                           D Employer identification
                                                                                                                                                                                                                                number

BICYCLE SALES                                                                               ROLL: HOLDINGS, LLC                                                                                                              XX-XXXXXXX
                                                                                     Type Number, street, and room or suite no. If a P.O. box, see instructions.
B                                       Principal product or service                  or                                                                                                                                    E Date business started
                                                                                     Print 791 SOUTH SIXTH STREET                                                                                                            11/16/2020
SALES                                                                                        City or town, state or province, country, and ZIP or foreign postal code
                                                                                                                                                                                                                            F   Total assets
                                                                                                                                                                                                                                (see instr.)
C                                       Business code number
459110                                                                                      COLUMBUS                                                                                   OH 43206                             $                       0.
G                                               Check applicable boxes:   (1)       Initial return  (2)                     X Final return
                                                                                                                               (3)        Name change (4)                                          Address change (5)                 Amended return
H                                               Check accounting method: (1)        Cash            (2)                     X Accrual
                                                                                                                               (3)        Other (specify)
I                                               Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year                                                        2
J                                               Check if Schedules C and M-3 are attached 
K                                               Check if partnership:          (1)          Aggregated activities for section 465 at-risk purposes                 (2)             Grouped activities for section 469 passive activity purposes
  Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
       1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~                           1a        4,513,423.
                                                      b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~            1b
                                                      c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                1c            4,513,423.
                                                  2     Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2             2,443,874.
                                                                                                                                                                                                                                2,069,549.
   Income




                                                  3     Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             3
                                                  4     Ordinary income (loss) from other partnerships, estates, and trusts (attach statement)                                     ~~~~~~~~~~~                    4
                                                  5     Net farm profit (loss) (attach Schedule F (Form 1040)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        5
                                                  6     Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~                                                                 6                            355.
                                                  7     Other income (loss) (attach statement)                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 7
                                                  8     Total income (loss). Combine lines 3 through 7                                                                              8             2,069,904.
                                                  9     Salaries and wages (other than to partners) (less employment credits) ~~~~~~~~~~~~~~~~~~~                                                                 9             1,447,674.
Deductions (see instructions for limitations)




                                                10      Guaranteed payments to partners                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     10               97,455.
                                                11      Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         11                2,728.
                                                12      Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                12
                                                13      Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  13                  438,833.
                                                14                                                   SEE STATEMENT 2
                                                        Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                           14                    8,998.
                                                15      Interest (see instructions)                                                                                      15                  107,362.
                                                16 a Depreciation (if required, attach Form 4562) ~~~~~~~~~~~~~~~~~ 16a         26,698.
                                                   b Less depreciation reported on Form 1125-A and elsewhere on return ~~~~ 16b         16c                                                                                              26,698.
                                                17 Depletion (Do not deduct oil and gas depletion.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~       17
                                                18      Retirement plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        18
                                                19      Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        19
                                                20      Other deductions (attach statement)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ SEE STATEMENT 3                                                                    20              487,850.
                                                21      Total deductions. Add the amounts shown in the far right column for lines 9 through 20                                                          21            2,617,598.
                                                22      Ordinary business income (loss). Subtract line 21 from line 8                                                                      22             -547,694.
                                                23      Interest due under the look-back method-completed long-term contracts (attach Form 8697) ~~~~~~~~                                                         23
                                                24      Interest due under the look-back method-income forecast method (attach Form 8866) ~~~~~~~~~~~                                                             24
   Tax and Payment




                                                25      BBA AAR imputed underpayment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              25
                                                26      Other taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    26
                                                27      Total balance due. Add lines 23 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               27
                                                28      Payment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                       28
                                                29      Amount owed. If line 28 is smaller than line 27, enter amount owed ~~~~~~~~~~~~~~~~~~~~                                                                   29
                                                30      Overpayment. If line 28 is larger than line 27, enter overpayment                                                                    30
                                                            Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                            and belief, it is true,correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
Sign                                                        which preparer has any knowledge.
                                                                                                                                                                                                                 May the IRS discuss this return with
Here                                                                                                                                                                                                             the preparer shown below?
                                                              Signature of partner or limited liability company member                                                      Date                                 See instr.
                                                                                                                                                                                                                                   X Yes              No
                                                            Print/Type preparer's name                                   Preparer's signature                                  Date                 Check          if       PTIN
                                                           ASHLEY CHANNEL                                           ASHLEY CHANNEL                                            03/14/23 self-employed
Paid                                                         Firm's name

Preparer                                                      GBQ PARTNERS LLC                                                                                                                     Firm's EIN

Use Only                                                             230 WEST STREET, SUITE 700
                                                             Firm's address
                                                              COLUMBUS, OH 43215                                                                                                                   Phone no.     (614) 221-1120
LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                 211001 12-19-22                                                                  Form 1065 (2022)
            Case 2:23-bk-53016                     Doc 1         Filed 08/31/23 Entered 08/31/23 11:19:32                                         Desc Main
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Form 1065 (2022)       ROLL: HOLDINGS, LLC                                                                                                   XX-XXXXXXX                  Page 2
  Schedule B           Other Information
  1       What type of entity is filing this return? Check the applicable box:                                                                                    Yes         No
      a       Domestic general partnership                                 b         Domestic limited partnership
      c   X Domestic limited liability company                             d         Domestic limited liability partnership
      e       Foreign partnership                                          f         Other
  2       At the end of the tax year:
      a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
          exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
          loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
          B-1, Information on Partners Owning 50% or More of the Partnership                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     X
      b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
          the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
          on Partners Owning 50% or More of the Partnership                                                                   X
  3       At the end of the tax year, did the partnership:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
          stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
          If "Yes," complete (i) through (iv) below                 X
                            (i) Name of Corporation                 (ii) Employer
                                                                                  (iii) Country of (iv) Percentage
                                                                                                Identification                                                   Owned in
                                                                                               Number (if any)                 Incorporation                    Voting Stock




      b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
          or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
          interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below             X
                    (i) Name of Entity                         (ii) Employer      (iii) Type of Entity              (iv) Country of     (v) Maximum
                                                                 Identification Number                                                                      Percentage Owned in
                                                                          (if any)                                              Organization                Profit, Loss, or Capital




  4       Does the partnership satisfy all four of the following conditions?                                                                                       Yes        No
      a   The partnership's total receipts for the tax year were less than $250,000.
      b   The partnership's total assets at the end of the tax year were less than $ 1 million.
      c   Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
          extensions) for the partnership return.
      d   The partnership is not filing and is not required to file Schedule M-3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                X
          If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
          or item L on Schedule K-1.
  5       Is this partnership a publicly traded partnership, as defined in section 469(k)(2)?                                                          X
  6       During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
          so as to reduce the principal amount of the debt?                                                                             X
  7       Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
          information on any reportable transaction?                                                                                 X
  8       At any time during calendar year 2022, did the partnership have an interest in or a signature or other authority over
          a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
          See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
          Financial Accounts (FBAR). If "Yes," enter the name of the foreign country                                                                                           X
  9       At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
          transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
          Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions                                                          X
10 a      Is the partnership making, or had it previously made (and not revoked), a sec. 754 election? See instr. for details regarding a sec. 754 election ~                  X
      b   Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
          attach a statement showing the computation and allocation of the basis adjustment. See instructions                                                     X
      c   Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a substantial built-in loss
          (as defined under section 743(d)) or substantial basis reduction (as defined under section 734(d))? If "Yes," attach a statement showing the
          computation and allocation of the basis adjustment. See instruction                                                                X
211011 12-19-22                                                                                                                                          Form 1065 (2022)
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Form 1065 (2022)        ROLL: HOLDINGS, LLC                                                                                     XX-XXXXXXX              Page 3
  Schedule B            Other Information (continued)
11       Check this box if, during the current or prior tax year, the partnership distributed any property received in a                           Yes    No
         like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
         owned by the partnership throughout the tax year)             
12       At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
         undivided interest in partnership property?                                                            X
13       If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect to Foreign
         Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
         instructions     
14       Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
         Information Statement of Section 1446 Withholding Tax, filed for this partnership                                                         X
15       Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
         to this return 
16 a     Did you make any payments in 2022 that would require you to file Form(s) 1099? See instructions ~~~~~~~~~~~~~~~                            X
     b   If "Yes," did you or will you file required Form(s) 1099?                                              X
17       Enter the number of Forms 5471, Information Return of U.S. Persons With Respect to Certain Foreign
         Corporations, attached to this return 
18       Enter the number of partners that are foreign governments under section 892 
19       During the partnership's tax year, did the partnership make any payments that would require it to file Form 1042
         and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)?                                  X
20       Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
         for Form 8938                                                                            X
21       Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1(b)(14)?                              X
22       During the tax year, did the partnership pay or accrue any interest or royalty for which one or more partners are
         not allowed a deduction under section 267A? See instructions          ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           X
         If "Yes," enter the total amount of the disallowed deductions                          $
23       Did the partnership have an election under section 163(j) for any real property trade or business or any farming
         business in effect during the tax year? See instructions                                                     X
24       Does the partnership satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~                                           X
     a   The partnership owns a pass-through entity with current, or prior year carryover, excess business interest expense.
     b   The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
         preceding the current tax year are more than $27 million and the partnership has business interest expense.
     c   The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
         If "Yes" to any, complete and attach Form 8990.
25       Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund?       ~~~~~~~~~~~~~~~~~~~~~~                                  X
         If "Yes," enter the amount from Form 8996, line 15                                 $
26       Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
         interest in the partnership or of receiving a distribution from the partnership 
         Complete Schedule K-3 (Form 1065), Part XIII, for each foreign partner subject to section 864(c)(8) on a transfer or distribution.
27       At any time during the tax year, were there any transfers between the partnership and its partners subject to the
         disclosure requirements of Regulations section 1.707-8?                                                       X
28       Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties
         constituting a trade or business of your partnership, and was the ownership percentage (by vote or value) for
         purposes of section 7874 greater than 50% (for example, the partners held more than 50% of the stock of
         the foreign corporation)? If "Yes," list the ownership percentage by vote and by value. See instructions.
         Percentage:                                                      By vote                          By value                                       X
29       Reserved for future use 
30       Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions                        X
         If "Yes," the partnership must complete Sch. B-2 (Form 1065). Enter the total from Sch. B-2, Part III, line 3                    2
        If "No," complete Designation of Partnership Representative below.
Designation of Partnership Representative (see instructions)
Enter below the information for the partnership representative (PR) for the tax year covered by this return.
Name of PR
                                                                                                 U.S. phone
U.S. address of PR
                                                                                                 number of PR

If the PR is an entity, name of the designated individual for the PR
                                                                                                 U.S. phone
U.S. address of                                                                                  number of
designated                                                                                       designated
individual                                                                                       individual

211021 12-19-22                                                                                                                               Form 1065 (2022)
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Form 1065 (2022)                      ROLL: HOLDINGS, LLC        Document                Page 15 of 45              XX-XXXXXXX                               Page 4
   Schedule K                         Partners' Distributive Share Items                                                                      Total amount
                        1     Ordinary business income (loss) (page 1, line 22)    ~~~~~~~~~~~~~~~~~~~~~~~~~~                          1        -547,694.
                        2     Net rental real estate income (loss) (attach Form 8825)                           2
                        3 a Other gross rental income (loss) ~~~~~~~~~~~~~~~~~~~                  3a
                          b Expenses from other rental activities (attach statement) ~~~~~~~               3b
                            c Other net rental income (loss). Subtract line 3b from line 3a                      3c
                        4
                              Guaranteed
                              payments:      a Services   4a                97,455.          b Capital 4b
                              c Total. Add lines 4a and 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       4c           97,455.
   Income (Loss)




                        5     Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              5
                        6     Dividends and dividend equivalents:     a Ordinary dividends                        6a
                              b Qualified dividends 6b                              c Dividend equivalents 6c
                        7     Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 7
                        8     Net short-term capital gain (loss) (attach Schedule D (Form 1065)) ~~~~~~~~~~~~~~~~~~                    8
                        9 a Net long-term capital gain (loss) (attach Schedule D (Form 1065))                       9a
                          b Collectibles (28%) gain (loss) ~~~~~~~~~~~~~~~~~~~~                   9b
                          c Unrecaptured section 1250 gain (attach statement) ~~~~~~~~~           9c
                       10     Net section 1231 gain (loss) (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             10
                       11     Other income (loss) (see instructions) Type                                                             11
                       12     Section 179 deduction (attach Form 4562)      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             12
   Deductions




                                                                           SEE STATEMENT 4
                       13 a Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                13a                181.
                          b Investment interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          13b
                            c Section 59(e)(2) expenditures: (1) Type                                                 (2) Amount     13c(2)
                            d Other deductions (see instructions) Type                                                                13d
                                                                                                                                                -450,594.
 Employ-




                       14 a Net earnings (loss) from self-employment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   14a
  ment
  Self-




                          b Gross farming or fishing income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       14b
                          c Gross nonfarm income                                               14c     2,069,549.
                       15 a Low-income housing credit (section 42(j)(5)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                15a
                            b Low-income housing credit (other) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    15b
   Credits




                            c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) ~~~~~~~    15c
                            d Other rental real estate credits (see instructions) Type                                                15d
                            e Other rental credits (see instructions)             Type                                                15e
                         f Other credits (see instructions)               Type                                                        15f
                       16 Attach Schedule K-2 (Form 1065), Partners' Distributive Share Items-International, and check
   national
    Inter-




                              this box to indicate that you are reporting items of international tax relevance   ~~~~~~~~     X

                       17a Post-1986 depreciation adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        17a
Minimum Tax
(AMT) Items




                         b Adjusted gain or loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             17b
Alternative




                            c Depletion (other than oil and gas) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   17c
                            d Oil, gas, and geothermal properties - gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                            17d
                            e Oil, gas, and geothermal properties - deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~                             17e
                            f Other AMT items (attach statement)                                     17f
                       18 a Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          18a
                          b Other tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            18b
   Other Information




                                                                                      SEE STATEMENT 5
                          c Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             18c                333.
                       19 a Distributions of cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               19a
                          b Distributions of other property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      19b
                       20 a Investment income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               20a
                         b Investment expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               20b
                         c Other items and amounts (attach statement)                  STMT 6
                       21 Total foreign taxes paid or accrued                                        21
211041 12-19-22                                                                                                                                  Form 1065 (2022)
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               ROLL: HOLDINGS, LLC
Form 1065 (2022)                         Document                                       Page 16 of 45              XX-XXXXXXX                                                    Page 5
Analysis of Net Income (Loss) per Return
1 Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13d, and 21         1              -450,420.
2 Analysis by                                              (ii) Individual                (iii) Individual                                      (v) Exempt                  (vi)
                              (i) Corporate                    (active)                       (passive)                (iv) Partnership        Organization            Nominee/Other
    partner type:
  a General partners
  b Limited partners                                                                    -450,420.

  Schedule L               Balance Sheets per Books
                                                                                   Beginning of tax year                                             End of tax year
                          Assets
                                                                             (a)                                (b)                           (c)                         (d)
  1 Cash ~~~~~~~~~~~~~~~~                                                                                       61,907.
  2a Trade notes and accounts receivable ~                                   20,841.
   b Less allowance for bad debts ~~~~                                                                     20,841.
  3 Inventories ~~~~~~~~~~~~~                                                                           2,055,813.
  4 U.S. government obligations ~~~~~
  5 Tax-exempt securities ~~~~~~~~
  6 Other current assets (attach statement) ~                 STATEMENT 7                                       20,115.                                                             0.
  7a Loans to partners (or persons related to partners) ~
   b Mortgage and real estate loans ~~~
  8 Other investments (attach statement) ~
  9a Buildings and other depreciable assets                                893,923.
     b Less accumulated depreciation ~~~                                   696,849.                           197,074.
10a Depletable assets ~~~~~~~~~~
  b Less accumulated depletion ~~~~~
11 Land (net of any amortization) ~~~~
12a Intangible assets (amortizable only) ~~                        149,304.
  b Less accumulated amortization ~~~                              149,304.
13 Other assets (attach statement) ~~~                        STATEMENT 8                                  14,295.                                                                  0.
14 Total assets ~~~~~~~~~~~~~                                                                           2,370,045.                                                                  0.
        Liabilities and Capital
15 Accounts payable ~~~~~~~~~~                                                                                703,764.
16    Mortgages, notes, bonds payable in less than 1 year

17 Other current liabilities (attach statement) ~             STATEMENT 9                                     277,607.                                                              0.
18 All nonrecourse loans ~~~~~~~~
19a Loans from partners (or persons related to partners)  261,456.
  b Mortgages, notes, bonds payable in 1 year or more   1,256,540.
20 Other liabilities (attach statement) ~~ STATEMENT 10   123,639.                                                                                                                  0.
21 Partners' capital accounts ~~~~~~                     -252,961.                                                                                                                  0.
22 Total liabilities and capital                  2,370,045.                                                                                                                  0.
 Schedule M-1 Reconciliation of Income (Loss) per Books With Analysis of Net Income (Loss) per Return
                               Note: The partnership may be required to file Schedule M-3. See instructions.
 1    Net income (loss) per books ~~~~~~~                                    -521,510. 6 Income recorded on books this year not included
 2    Income included on Schedule K, lines 1, 2, 3c,                                                       on Schedule K, lines 1 through 11 (itemize):
      5, 6a, 7, 8, 9a, 10, and 11, not recorded on books                                                 a Tax-exempt interest $
      this year (itemize):
 3 Guaranteed payments (other than health                                                              7 Deductions included on Schedule K, lines 1
   insurance) ~~~~~~~~~~~~~~~~                                                     97,455.               through 13d, and 21, not charged against
 4   Expenses recorded on books this year not included on                                                  book income this year (itemize):
     Schedule K, lines 1 through 13d, and 21 (itemize):                                                  a Depreciation $                     26,698.
                                                                                                                                                                          26,698.
  a Depreciation $                                                                                     8 Add lines 6 and 7 ~~~~~~~~~~~~                                   26,698.
  b Travel and entertainment $   333.            333. 9 Income (loss) (Analysis of Net Income (Loss),
 5 Add lines 1 through 4       -423,722.     line 1). Subtract line 8 from line 5                                                                     -450,420.
  Schedule M-2 Analysis of Partners' Capital Accounts
 1 Balance at beginning of year ~~~~~~~   -391,383. 6 Distributions: a Cash ~~~~~~~~~
 2 Capital contributed: a Cash ~~~~~~~                                                                                    b Property ~~~~~~~~
                        b Property ~~~~~~                                                              7 Other decreases (itemize):
 3 Net income (loss) (see instructions) ~~~~                                 -450,420.      STMT 12                                                                       97,788.
 4 Other increases (itemize): STMT 11                                         939,591. 8 Add lines 6 and 7 ~~~~~~~~~~~~                                                   97,788.
 5 Add lines 1 through 4                                            97,788. 9 Balance at end of year. Subtract line 8 from line 5                                 0.
211042 12-19-22                                                                                                                                                         Form 1065 (2022)
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SCHEDULE K-2                                                  Partners' Distributive Share Items - International                                                                            OMB No. 1545-0123
(Form 1065)

                                                                                                                                                                                              2022
                                                                                                 Attach to Form 1065.
Department of the Treasury
Internal Revenue Service                                            Go to www.irs.gov/Form1065 for instructions and the latest information.

Name of partnership                                                                                                                                                               Employer identification number (EIN)
ROLL: HOLDINGS, LLC                                                                                                                                                                      XX-XXXXXXX
 A       Is the partnership a withholding foreign partnership?                                                B    Is the partnership (including the home office or any branch) a qualified derivatives dealer?
            Yes        X No         If "Yes," enter your WP-EIN                                                        Yes     X No        If "Yes," enter your QI-EIN

 C       Check to indicate the parts of Schedule K-2 that apply.
                                                                                                 Yes   No                                                                                                 Yes       No
           1   Does Part I apply? If "Yes," complete and attach Part I    ~~~~~~          1      X                 7     Does Part VII apply? If "Yes," complete and attach Part VII    ~~~         7               X
           2   Does Part II apply? If "Yes," complete and attach Part II ~~~~~~           2      X                 8     Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~          8               X
           3   Does Part III apply? If "Yes," complete and attach Part III ~~~~~          3      X                 9     Does Part IX apply? If "Yes," complete and attach Part IX ~~~~             9               X
           4   Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~            4            X          10     Does Part X apply? If "Yes," complete and attach Part X       ~~~~       10                X
           5   Does Part V apply? If "Yes," complete and attach Part V ~~~~~~             5            X          11     Does Part XI apply? If "Yes," complete and attach Part XI ~~~~           11                X
           6   Does Part VI apply? If "Yes," complete and attach Part VI             6            X          12     Reserved for future use                             12
 Part I        Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
     1. Gain on personal property sale                       5. High-taxed income                              8. Form 5471 information                             11. Dual consolidated loss
     2. Foreign oil and gas taxes                            6. Section 267A disallowed deduction              9. Other forms                                       12. Reserved for future use
     3. Splitter arrangements                                7. Form 8858 information                       X 10. Partner loan transactions                         13. Other international items
     4. Foreign tax translation                                                                                                                                          (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                               Foreign Source
                                                        (a) U.S. source                                                                                                    (f) Sourced by
                      Description                                           (b) Foreign branch          (c) Passive             (d) General            (e) Other                partner                 (g) Total
                                                                             category income         category income         category income    (category code       )

  1 Sales
     A            OC                                   4,513,778.                          0.                      0.                      0.                      0.                    0. 4,513,778.
     B
    C
  2 Gross income from performance of services
     A
     B
    C
  3 Gross rental real estate income
     A
     B
    C
  4 Other gross rental income
     A
     B
     C
For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                                                                                Schedule K-2 (Form 1065) 2022
224141 12-07-22 LHA
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Schedule K-2 (Form 1065) 2022                                                                                                                                                      Page 2
Name of partnership                                                                                                                                     EIN
ROLL: HOLDINGS, LLC                                                                                                                                              XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                              Foreign Source
                                            (a) U.S. source                                                                                      (f) Sourced by
                  Description                                  (b) Foreign branch      (c) Passive        (d) General           (e) Other             partner               (g) Total
                                                                category income     category income    category income   (category code      )

  5 Guaranteed payments         
  6 Interest income
    A
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
    C
                                                                                                                                                              Schedule K-2 (Form 1065) 2022
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                                 Case 2:23-bk-53016         Doc 1     Filed 08/31/23 Entered 08/31/23 11:19:32                          Desc Main
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Schedule K-2 (Form 1065) 2022                                                                                                                                                    Page 3
Name of partnership                                                                                                                                   EIN
ROLL: HOLDINGS, LLC                                                                                                                                            XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                          (a) U.S. source                                                                                      (f) Sourced by
                   Description                               (b) Foreign branch      (c) Passive        (d) General           (e) Other             partner               (g) Total
                                                              category income     category income    category income   (category code      )

15 Net section 1231 gain
    A
    B
   C
16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                4,513,778.                                                                                                              4,513,778.
    A             OC                     4,513,778.                         0.                 0.                 0.                      0.                  0. 4,513,778.
    B
    C
                                                                                                                                                            Schedule K-2 (Form 1065) 2022




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Schedule K-2 (Form 1065) 2022                                                                                                                                                           Page 4
Name of partnership                                                                                                                                          EIN
ROLL: HOLDINGS, LLC                                                                                                                                                   XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                   Foreign Source
                                                 (a) U.S. source                                                                                      (f) Sourced by
                  Description                                       (b) Foreign branch      (c) Passive        (d) General           (e) Other             partner               (g) Total
                                                                     category income     category income    category income   (category code      )

25 Expenses allocable to sales income           4,849,718.                                                                                                                 4,849,718.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                   
    B SIC code:                   
   C SIC code:                    
33 Allocable rental expenses -
     depreciation, depletion, and amortization
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion,
     and amortization   
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33
   or 35 
38 Charitable contributions                         181.                                                                                                                         181.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)                                                                                                             107,362.                 107,362.
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T 
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32     
45 Foreign taxes not creditable but
   deductible 
224144 12-07-22                                                                                                                                                    Schedule K-2 (Form 1065) 2022
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Schedule K-2 (Form 1065) 2022                                                                                                                                                                                   Page 5
Name of partnership                                                                                                                                                                  EIN
ROLL: HOLDINGS, LLC                                                                                                                                                                         XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions (continued)
                                                                                                             Foreign Source
                                                    (a) U.S. source                                                                                                          (f) Sourced by
                   Description                                           (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                          category income        category income         category income     (category code            )

46 Section 986(c) loss 
47 Section 987 loss 
48 Section 988 loss 
49 Other allocable deductions (see
      instructions) 
50 Other apportioned share of
   deductions (see instructions)      
51 Reserved for future use 
52 Reserved for future use 
53 Reserved for future use 
54 Total deductions (combine lines 25
      through 53)                      4,849,899.                                                                                                                   107,362. 4,957,261.
55 Net income (loss) (subtract line 54
   from line 24)           -336,121.                                                                                                                              -107,362.                -443,483.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                    Foreign Source
                                                                                                                                              (e) Other                    (f) Sourced by
           Description                 (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                               category income         category income          category income       (category code               )

                                                                                                                                      (country code                )

  1 Gross receipts by SIC code
    A SIC code: 594                   4,513,778.                                0.                      0.                       0.                           0.                            0.      4,513,778.
      B   SIC code:
      C   SIC code:
      E   SIC code:
      E   SIC code:
      F   SIC code:
  2       Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A   R&E expense with respect to activity performed in the United States
            (i) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
           (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
          (iii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(iii)
      B   R&E expense with respect to activity performed outside the United States
            (i) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
           (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
          (iii) SIC code:                                                                                                 2B(iiI)
224145 12-07-22                                                                                                                                                                            Schedule K-2 (Form 1065) 2022
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Schedule K-2 (Form 1065) 2022                                                                                                                                                                             Page 6
Name of partnership                                                                                                                                                        EIN
ROLL: HOLDINGS, LLC                                                                                                                                                                 XX-XXXXXXX
 Part III Other Information for Preparation of Form 1116 or 1118 (continued)
Section 2 - Interest Expense Apportionment Factors
                                                                                                          Foreign Source
                                                                                                                                             (e) Other
                   Description                         (a) U.S. source     (b) Foreign branch      (c) Passive        (d) General                                   (f) Sourced by             (g) Total
                                                                                                                                      (category code         )           partner
                                                                            category income     category income    category income
                                                                                                                                      (country code          )

  1     Total average value of assets          1,185,023.                                                                                                                              1,185,023.
  2     Sections 734(b) and 743(b)
        adjustment to assets - average value
  3     Assets attracting directly allocable
        interest expense under Regulations
        section 1.861-10(e) 
  4     Other assets attracting directly.
        allocable interest expense under
        Regulations section 1.861-10T 
  5     Assets excluded from apportionment
        formula   
  6a Total assets used for apportionment
     (subtract the sum of lines 3, 4, and 5
        from the sum of lines 1 and 2)        1,185,023.                                                                                                                              1,185,023.
      b Assets attracting business interest
        expense                     1,185,023.                                                                                                                              1,185,023.
      c Assets attracting investment interest
        expense 
      d Assets attracting passive activity
        interest expense 
  7     Basis in stock of 10%-owned
        noncontrolled foreign corporations
        (see attachment) 
  8     Basis in stock of CFCs (see attachment)
Section 3 - Foreign-Derived Intangible Income (FDII) Deduction Apportionment Factors
                                                                                                             Foreign Source
                                                                                                                                       (d) Other                 (e) Sourced by
                        Description                               (a) U.S. source          (b) Passive          (c) General                                          partner                  (f) Total
                                                                                                                                 (category code          )
                                                                                        category income      category income
                                                                                                                                 (country code           )

  1     Foreign-derived gross receipts      
  2     Cost of goods sold 
  3     Partnership deductions allocable to foreign-
        derived gross receipts 
  4     Other partnership deductions apportioned to
        foreign-derived gross receipts 
224146 12-07-22                                                                                                                                                                  Schedule K-2 (Form 1065) 2022
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Schedule K-2 (Form 1065) 2022                                                                                                                                              Page 7
Name of partnership                                                                                                                           EIN
                                                                                                                                                       XX-XXXXXXX
 Part III Other Information for Preparation of Form 1116 or 1118 (continued)
Section 4 - Foreign Taxes
                                                                                (b) Section 951A category income          (c) Foreign branch category income
                          Description                    (a) Type of tax
                                                                                   U.S.                 Foreign    U.S.                  Foreign                 Partner
  1       Direct (section 901 or
          903) foreign taxes:          Paid   Accrued
      A
      B
      C
      D
      E
      F
  2       Reduction of taxes (total)
      A Taxes on foreign mineral income 
      B Reserved for future use 
      C International boycott provisions 
      D Failure-to-file penalties 
      E Taxes with respect to splitter arrangements 
      F Taxes on foreign corporate distributions 
      G Other 
  3     Foreign tax redeterminations
      A
          Related tax year
          Date tax paid
          Contested tax 
      B
          Related tax year
          Date tax paid
          Contested tax 
      C
          Related tax year
          Date tax paid
          Contested tax 
  4       Reserved for future use      
  5       Reserved for future use      
  6       Reserved for future use      
                                                                                                                                                    Schedule K-2 (Form 1065) 2022




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Schedule K-2 (Form 1065) 2022                                                                                                                                                                              Page 8
Name of partnership                                                                                                                                                          EIN
                                                                                                                                                                                         XX-XXXXXXX
 Part III Other Information for Preparation of Form 1116 or 1118 (continued)
Section 4 - Foreign Taxes (continued)
                            (d) Passive category income                                              (e) General category income                                 (f) Other
                                                                                                                                                                                               (g) Total
                   U.S.               Foreign                Partner                    U.S.                     Foreign               Partner            (category code             )
  1
      A
      B
      C
      D
      E
      F
  2
      A
      B
      C
      D
      E
      F
      G
  3
      A
      B
      C
  4
  5
  6
Section 5 - Other Tax Information
                                                                                               Foreign Source
                                                                                                                                              (f) Other            (g) Sourced by
          Description       (a) U.S. source     (b) Section 951A       (c) Foreign branch         (d) Passive           (e) General                                    partner                   (h) Total
                                                                                                                                       (category code         )
                                                category income         category income        category income       category income
                                                                                                                                       (country code          )

  1       Section 743(b)
          positive income
          adjustment 
  2       Section 743(b)
          negative income
          adjustment 
  3       Reserved for
          future use 
  4       Reserved for
          future use 
224148 12-07-22                                                                                                                                                                    Schedule K-2 (Form 1065) 2022
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Form          1125-A                                            Cost of Goods Sold
(Rev. November 2018)                                | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                                OMB No. 1545-0123
Department of the Treasury                        | Go to www.irs.gov/Form1125A for the latest information.
Internal Revenue Service
Name                                                                                                                             Employer Identification number

         ROLL: HOLDINGS, LLC                                                                                                        XX-XXXXXXX
1     Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1            2,055,813.
2     Purchases       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2            2,919,647.
3     Cost of labor     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  3
4     Additional section 263A costs (attach schedule)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
5     Other costs (attach schedule)                       SEE STATEMENT 13
                                      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           5                   75,914.
6     Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              6                5,051,374.
7     Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7                2,607,500.
8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
      appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              8                2,443,874.
9 a Check all methods used for valuing closing inventory:
      (i)      X Cost
      (ii)        Lower of cost or market
      (iii)       Other (Specify method used and attach explanation) |


    b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                     |
    c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
    d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
      under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
    e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~             Yes X No
    f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~                    Yes X No
      If "Yes," attach explanation.


For Paperwork Reduction Act Notice, see separate instructions.                                                                   Form 1125-A (Rev. 11-2018)




224441
04-01-22        LHA
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SCHEDULE B-1                                      Information on Partners Owning 50% or
(Form 1065)                                              More of the Partnership
(Rev. August 2019)                                                                                                                          OMB No. 1545-0123
Department of the Treasury
                                                                      J Attach to Form 1065.
Internal Revenue Service                              J Go to www.irs.gov/Form1065 for the latest information.
Name of partnership                                                                                                                   Employer identification number



   ROLL: HOLDINGS, LLC                                                                       XX-XXXXXXX
  Part I Entities Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2a (Question 3a for
         2009 through 2017))
Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust,
tax-exempt organization, or any foreign government that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of the
partnership (see instructions).
                             (i) Name of Entity                         (ii) Employer            (iii)                    (iv)              (v) Maximum
                                                                       Identification       Type of Entity      Country of Organization Percentage Owned
                                                                      Number (if any)                                                    in Profit, Loss, or
                                                                                                                                                Capital




  Part II         Individuals or Estates Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2b
                  (Question 3b for 2009 through 2017))
Complete columns (i) through (iv) below for any individual or estate that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or
capital of the partnership (see instructions).


                   (i) Name of Individual or Estate                    (ii) Identifying   (iii) Country of Citizenship (see instructions)        (iv) Maximum
                                                                      Number (if any)                                                         Percentage Owned
                                                                                                                                                in Profit, Loss,
                                                                                                                                                    or Capital

STUART HUNTER                                                                             UNITED STATES                                               100.00




LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                        Schedule B-1 (Form 1065) (Rev. 8-2019)




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SCHEDULE B-2                                      Election Out of the Centralized
(Form 1065)
(December 2018)
                                                    Partnership Audit Regime                                                               OMB No. 1545-0123
Department of the Treasury                             | Attach to Form 1065 or Form 1066.
Internal Revenue Service              | Go to www.irs.gov/Form1065 for instructions and the latest information.
Name of Partnership                                                                                                 Employer Identification Number (EIN)
                             ROLL: HOLDINGS, LLC                                                                            XX-XXXXXXX
Certain partnerships with 100 or fewer partners can elect out of the centralized partnership audit regime if each partner is an individual,
a C corporation, a foreign entity that would be treated as a C corporation were it domestic, an S corporation, or an estate of a deceased
partner. For purposes of determining whether the partnership has 100 or fewer partners, the partnership must include all shareholders of
any S corporation that is a partner. By completing Part I, you are making an affirmative statement that all of the partners in the
partnership are eligible partners under section 6221(b)(1)(C) and you have provided all of the information on this schedule. See the
instructions, including the instructions for the treatment of real estate mortgage investment conduits (REMICs), for more details.

 Part I       List of Eligible Partners
              Use the following codes under Type of Eligible Partner:
              I - Individual C - Corporation E - Estate of Deceased Partner F - Eligible Foreign Entity S - S corporation
                                                                                                                                                Type of Eligible
                                            Name of Partner                                             Taxpayer Identification Number (TIN)    Partner (Code)

   1 STUART HUNTER                                                                                                                                  I
   2 RYAN HUGHES                                                                                                                                    I
   3
   4
   5
   6
   7
   8
   9
 10
 11
 12
 13
 14
 15
Continued on Part IV
 Part II       List of S Corporation Shareholders (For each S corporation partner, complete a separate Part II and
               separate Part V, if needed.)
               Use the following codes under Type of Person:
               I - Individual E - Estate of Deceased Shareholder T - Trust O - Other
Name of
S Corporation Partner |                                                                                             TIN of Partner|
                                                                                                                                                Type of Person
                                         Name of Shareholder                                                      Shareholder TIN                   (Code)

   1
   2
   3
   4
   5
   6
   7
   8
   9
 10
 11
 12
Continued on Part V

 Part III        Total Number of Schedules K-1 Required To Be Issued. See instructions.
   1      Total of Part I and all Parts IV Schedules K-1 required to be issued by the partnership   ~~~~~~~~~~~~                    1                      2.
   2      Total of Part II and all Parts V Schedules K-1 required to be issued by any S corporation partners     ~~~~~~             2
  3      Total. Add line 1 and line 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      3                      2.
Note: If line 3 is more than 100, the partnership cannot make the election under section 6221(b).
LHA      For Paperwork Reduction Act Notice, see the Instructions for Form 1065.           214201 04-01-22              Schedule B-2 (Form 1065) (12-2018)
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           4562                                                     Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                        (Including Information on Listed Property)
                                                                                         Attach to your tax return.
                                                                                                                                                       OTHER                       1
                                                                                                                                                                                            2022
                                                                                                                                                                                            Attachment
Internal Revenue Service                              Go to www.irs.gov/Form4562 for instructions and the latest information.                                                               Sequence No. 179
Name(s) shown on return                                                                                             Business or activity to which this form relates                      Identifying number



ROLL: HOLDINGS, LLC                                                                                                   ROLL HOLDINGS, LLC                XX-XXXXXXX
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            1  1,080,000.
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                      2     15,571.
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                       3  2,700,000.
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                               4          0.
 5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions  5  1,080,000.
 6                                        (a) Description of property                                       (b) Cost (business use only)              (c) Elected cost




 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                       8
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   9
10 Carryover of disallowed deduction from line 13 of your 2021 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                               10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                11            1,080,000.
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                        12
13 Carryover of disallowed deduction to 2023. Add lines 9 and 10, less line 12                                                   13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II             Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           14                    15,571.
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         15
16 Other depreciation (including ACRS)                                                                                                 16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2022                                                                           17                       9,152.
18                                                                                                        
         If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                   Section B - Assets Placed in Service During 2022 Tax Year Using the General Depreciation System
                                                                        (b) Month and        (c) Basis for depreciation
                   (a) Classification of property                        year placed        (business/investment use            (d) Recovery      (e) Convention      (f) Method       (g) Depreciation deduction
                                                                           in service         only - see instructions)              period


19a           3-year property
     b        5-year property
     c        7-year property
     d        10-year property
     e        15-year property
     f        20-year property
     g        25-year property                                                                                                   25 yrs.                                 S/L
                                                                               /                                                27.5 yrs.              MM                S/L
     h        Residential rental property
                                                                               /                                                27.5 yrs.              MM                S/L
                                                                               /                                                 39 yrs.               MM                S/L
     i        Nonresidential real property
                                                               /                                                 MM         S/L
                                 Section C - Assets Placed in Service During 2022 Tax Year Using the Alternative Depreciation System
20a           Class life                                                                                                                                                 S/L
  b           12-year                                                                                                             12 yrs.                                S/L
  c           30-year                                                          /                                                  30 yrs.              MM                S/L
  d           40-year                                                          /                                                  40 yrs.              MM                S/L
 Part IV             Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            21                       1,975.
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                        22                    26,698.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                            23
216251 12-08-22         LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                   Form 4562 (2022)
           Case 2:23-bk-53016                  Doc 1         Filed 08/31/23 Entered 08/31/23 11:19:32                                                Desc Main
                                                            Document      Page 29 of 45
Form 4562 (2022)                 ROLL: HOLDINGS, LLC                                                                  XX-XXXXXXX                                               Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
24a Do you have evidence to support the business/investment use claimed?         X Yes                 No 24b If "Yes," is the evidence written? X Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)           (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation   Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction   section 179
                                service      use percentage                                 use only)
                                                                                                                                                        cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25



                                      ! !
26 Property used more than 50% in a qualified business use:
2015 FORD T150

                                      ! !
                            %
VAN            043015100.00 %                                        28,262.             28,262. 5                   200DB-HY                   1,975.

                                      ! !                 %



                                      ! !
27 Property used 50% or less in a qualified business use:



                                      ! !
                                                          %                                                          S/L -



                                      ! !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28 1,975.
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1       29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                   (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle           Vehicle           Vehicle                    Vehicle               Vehicle
   year (don't include commuting miles) ~~~~~~~
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No        Yes          No
   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                              Yes         No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                   (f)
                   Description of costs                Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2022 tax year:



                                                            ! !
43 Amortization of costs that began before your 2022 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43
44 Total. Add amounts in column (f). See the instructions for where to report                                            44
216252 12-08-22                                                                                                                                                Form 4562 (2022)
              Case 2:23-bk-53016                       Doc 1           Filed 08/31/23 Entered 08/31/23 11:19:32                                        Desc Main
                                                                      Document      Page 30 of 45
                                                                                                                                                                 OMB No. 1545-0184
                                                                 Sales of Business Property
Form       4797                           (Also Involuntary Conversions and Recapture Amounts Under Sections 179 and 280F(b)(2))
                                                                                                                                                                  2022
Department of the Treasury                                                Attach to your tax return.
                                                                                                                                                                 Attachment
Internal Revenue Service                            Go to www.irs.gov/Form4797 for instructions and the latest information.                                      Sequence No.   27
Name(s) shown on return                                                                                                              Identifying number


      ROLL: HOLDINGS, LLC                                                                                                             XX-XXXXXXX
 1a Enter the gross proceeds from sales or exchanges reported to you for 2022 on Form(s) 1099-B or 1099-S
    (or substitute statement) that you are including on line 2, 10, or 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1a
     b Enter the total amount of gain that you are including on lines 2, 10, and 24 due to the partial dispositions of
       MACRS assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            1b
     c Enter the total amount of loss that you are including on lines 2 and 10 due to the partial dispositions of MACRS
       assets                                                                               1c
  Part I          Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
                  Than Casualty or Theft - Most Property Held More Than 1 Year (see instructions)
                                                                                                               (e) Depreciation        (f) Cost or other            (g) Gain or (loss)
 2                                                 (b) Date          (c) Date            (d) Gross                                       basis, plus                 Subtract (f) from
                  (a) Description of                 acquired            sold              sales price
                                                                                                            allowed or allowable      improvements and            the sum of (d) and (e)
                      property                     (mo., day, yr.)   (mo., day, yr.)                          since acquisition        expense of sale




 3      Gain, if any, from Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   3
 4      Section 1231 gain from installment sales from Form 6252, line 26 or 37           ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4
 5      Section 1231 gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    5
 6      Gain, if any, from line 32, from other than casualty or theft       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               6
 7      Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows      ~~~~~~~~~~~~~~~~~                              7
        Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
        line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
        Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
        from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
        1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
        the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.

 8      Nonrecaptured net section 1231 losses from prior years. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                8
 9      Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
        line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
        capital gain on the Schedule D filed with your return. See instructions                                                 9

  Part II         Ordinary Gains and Losses (see instructions)
10       Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):




11      Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        11 (                            )
12      Gain, if any, from line 7 or amount from line 8, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   12
13      Gain, if any, from line 31 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        13                   355.
14      Net gain or (loss) from Form 4684, lines 31 and 38a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           14
15      Ordinary gain from installment sales from Form 6252, line 25 or 36             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       15
16      Ordinary gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     16
17      Combine lines 10 through 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         17                   355.
18      For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines
        a and b below. For individual returns, complete lines a and b below.
     a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the
       loss from income-producing property on Schedule A (Form 1040), line 16. (Do not include any loss on property used
        as an employee.) Identify as from "Form 4797, line 18a." See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              18a
     b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
       (Form 1040), Part I, line 4                                                                          18b
 LHA       For Paperwork Reduction Act Notice, see separate instructions.                                                                                          Form 4797 (2022)
218001
12-14-22
ROLL: Case
       HOLDINGS,   LLC
           2:23-bk-53016                             Doc 1          Filed 08/31/23 Entered 08/31/23 11:19:32                                   Desc XX-XXXXXXX
                                                                                                                                                    Main
Form 4797 (2022)                                                   Document      Page 31 of 45                                                                             Page 2
  Part III         Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255 (see instructions)
                                                                                                                                              (b) Date acquired     (c) Date sold
                                                                                                                                               (mo., day, yr.)      (mo., day, yr.)
 19 (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:
   A    LAPTOP                                                                                                                                 010119 120622
   B
   C
   D
        These columns relate to the properties on
        lines 19A through 19D.                                                  Property A               Property B             Property C                   Property D
 20     Gross sales price (Note: See line 1a before completing.)     20                355.
 21     Cost or other basis plus expense of sale ~~~~~~              21              1,439.
 22     Depreciation (or depletion) allowed or allowable ~~~         22              1,439.
 23     Adjusted basis. Subtract line 22 from line 21 ~~~~           23                  0.

 24     Total gain. Subtract line 23 from line 20              24                  355.
 25     If section 1245 property:
      a Depreciation allowed or allowable from line 22 ~~~           25a             1,439.
      b Enter the smaller of line 24 or 25a                  25b               355.
 26     If section 1250 property: If straight line depreciation
        was used, enter -0- on line 26g, except for a corporation
        subject to section 291.
      a Additional depreciation after 1975 ~~~~~~~~~                 26a
      b Applicable percentage multiplied by the smaller of
        line 24 or line 26a   ~~~~~~~~~~~~~~~                        26b
      c Subtract line 26a from line 24. If residential rental
        property or line 24 isn't more than line 26a, skip lines
        26d and 26e ~~~~~~~~~~~~~~~~~~                               26c
      d Additional depreciation after 1969 and before 1976 ~         26d
      e Enter the smaller of line 26c or 26d ~~~~~~~~                26e
      f Section 291 amount (corporations only) ~~~~~~                26f
      g Add lines 26b, 26e, and 26f                       26g
 27     If section 1252 property: Skip this section if you didn't
        dispose of farmland or if this form is being completed for
        a partnership.
      a Soil, water, and land clearing expenses ~~~~~~               27a
      b Line 27a multiplied by applicable percentage ~~~~            27b
      c Enter the smaller of line 24 or 27b                  27c
 28     If section 1254 property:
      a Intangible drilling and development costs, expenditures
        for development of mines and other natural deposits,
        mining exploration costs, and depletion ~~~~~~               28a
      b Enter the smaller of line 24 or 28a                  28b
 29     If section 1255 property:
      a Applicable percentage of payments excluded from
        income under section 126 ~~~~~~~~~~~~                        29a
  b Enter the smaller of line 24 or 29a   29b
Summary of Part III Gains. Complete property columns A through D through line 29b before going to line 30.

 30     Total gains for all properties. Add property columns A through D, line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~                                     30                       355.

 31     Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b. Enter here and on line 13      ~~~~~~~~~~~~~~                      31                       355.
 32     Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion
        from other than casualty or theft on Form 4797, line 6                                                 32
  Part IV          Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                   (see instructions)
                                                                                                                                (a) Section                  (b) Section
                                                                                                                                    179                       280F(b)(2)
 33     Section 179 expense deduction or depreciation allowable in prior years     ~~~~~~~~~~~~~~                          33
 34     Recomputed depreciation. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              34
 35     Recapture amount. Subtract line 34 from line 33. See the instructions for where to report                    35
218002
12-14-22                                                                                                                                                         Form 4797 (2022)
           Case 2:23-bk-53016                       Doc 1        Filed 08/31/23 Entered 08/31/23 11:19:32                   Desc Main
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                                    Worksheet for Figuring Net Earnings (Loss) From Self-Employment

Name of partnership                                                                                                         Employer identification number


    ROLL: HOLDINGS, LLC                                                                                                        XX-XXXXXXX
1 a Ordinary income (loss) (Schedule K, line 1) ~~~~~~~~~~~~~~~~~~~~                                  1a   -547,694.
  b Net income (loss) from CERTAIN rental real estate activities ~~~~~~~~~~~~~                        1b
  c Net income (loss) from other rental activities (Schedule K, line 3c) ~~~~~~~~~~                   1c
  d Net loss from Form 4797, Part II, line 17, included on line 1a above. Enter as a positive
    amount ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       1d
  e Other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  1e
  f Combine lines 1a through 1e ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1f   -547,694.
2 a Net gain from Form 4797, Part II, line 17, included on line 1a above ~~~~~~~~~~                   2a        355.
  b Other subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2b
  c Add lines 2a and 2b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               2c       355.
3 a Subtract line 2c from line 1f. If line 1f is a loss, increase the loss on line 1f by the amount
    on line 2c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    3a   -548,049.
  b Part of line 3a allocated to limited partners, estates, trusts, corporations, exempt
    organizations, and IRAs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             3b
  c Subtract line 3b from line 3a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           3c            -548,049.
4 a Guaranteed payments to partners (Schedule K, line 4a) derived from a trade or business
    as defined in section 1402(c)     ~~~~~~~~~~~~~~~~~~~~~~~~~~                                      4a    97,455.
  b Part of line 4a allocated to individual limited partners for other than services and to
    estates, trusts, corporations, exempt organizations, and IRAs ~~~~~~~~~~~~                        4b
 c Subtract line 4b from line 4a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           4c              97,455.
5 Net earnings (loss) from self-employment. Combine lines 3c and 4c. Enter here and on Schedule K, line 14a     5             -450,594.




212161
04-01-22
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                             Document      Page 33 of 45
     Case 2:23-bk-53016    Doc 1    Filed 08/31/23 Entered 08/31/23 11:19:32   Desc Main
ROLL: HOLDINGS, LLC                Document      Page 34 of 45      XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                  FOOTNOTES                      STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}


SCHEDULE M-2 DETAIL:

SCHEDULE M-2 IS PREPARED ON A TAX BASIS. SCHEDULE L IS
PREPARED ON A BOOK BASIS. ANY DIFFERENCES ARE RELATED TO
TIMING ADJUSTMENTS. DETAILS ARE AVAILABLE UPON REQUEST.

       STATEMENT DISCLOSING A PARTNERSHIP TERMINATION

                     ROLL: HOLDINGS, LLC
                    791 SOUTH SIXTH STREET
                      COLUMBUS, OH 43206

                          EIN: XX-XXXXXXX

PURSUANT TO REVENUE RULING 99-6 AND IRC SEC. 708(B)(1)(A)
AND THE REGULATIONS THEREUNDER, ROLL: HOLDINGS, LLC
TERMINATED ON 12/31/22. ON THAT DATE, STUART HUNTER (SSN:
           ) ACQUIRED 100% OWNERSHIP IN THE PARTNERSHIP'S
CAPITAL AND PROFITS. THIS RESULTS IN A NEW SINGLE MEMBER
LIMITED LIABILITY COMPANY FOR FEDERAL INCOME TAX PURPOSES
WHICH WILL BE TREATED AS A DISREGARDED ENTITY BEGINNING
1/1/23 AND REPORTED BY STUART HUNTER (SSN:            )
GOING FORWARD.


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1065                        TAX EXPENSE                     STATEMENT 2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
CAT TAX                                                                                8,998.
                                                                               }}}}}}}}}}}}}}
TOTAL TO FORM 1065, LINE 14                                                            8,998.
                                                                               ~~~~~~~~~~~~~~




                                                                           STATEMENT(S) 1, 2
     Case 2:23-bk-53016   Doc 1    Filed 08/31/23 Entered 08/31/23 11:19:32   Desc Main
ROLL: HOLDINGS, LLC               Document      Page 35 of 45       XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1065                      OTHER DEDUCTIONS                  STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
ADVERTISING                                                                         101,954.
BANK FEES                                                                            15,270.
CLEANING SERVICES                                                                    11,177.
COMPUTER, INTERNET & SOFTWARE                                                        40,461.
CREDIT CARD FEES                                                                     94,632.
DUES AND SUBSCRIPTIONS                                                                   761.
INSURANCE                                                                            12,172.
LEGAL AND ACCOUNTING                                                                 76,501.
MEALS                                                                                    333.
MEALS NOT SUBJECT TO LIMITATION                                                       2,184.
MISC.                                                                                 4,732.
OFFICE SUPPLIES                                                                      13,541.
PROFESSIONAL DEVELOPMENT                                                             28,499.
SUPPLIES                                                                             13,150.
TRAVEL                                                                               13,505.
UTILITIES                                                                            51,441.
VEHICLE EXPENSE                                                                       7,175.
WARRANTY EXPENSE                                                                         362.
                                                                              }}}}}}}}}}}}}}
TOTAL TO FORM 1065, LINE 20                                                         487,850.
                                                                              ~~~~~~~~~~~~~~




~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                 CHARITABLE CONTRIBUTIONS              STATEMENT 4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                               TYPE              AMOUNT
}}}}}}}}}}}                                      }}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}
CHARITABLE CONTRIBUTIONS                         NOT SUBJ. TO LIMITATION
                                                 (100%)                          181.
                                                                         }}}}}}}}}}}}
TOTALS TO SCHEDULE K, LINE 13A                                                   181.
                                                                         ~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                  NONDEDUCTIBLE EXPENSE                STATEMENT 5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
EXCLUDED MEALS AND ENTERTAINMENT EXPENSES                                                333.
                                                                              }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 18C                                                            333.
                                                                              ~~~~~~~~~~~~~~




                                                                      STATEMENT(S) 3, 4, 5
     Case 2:23-bk-53016   Doc 1    Filed 08/31/23 Entered 08/31/23 11:19:32   Desc Main
ROLL: HOLDINGS, LLC               Document      Page 36 of 45       XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                       OTHER ITEMS                     STATEMENT 6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
SECTION 199A - ORDINARY INCOME (LOSS)                                              -547,694.
SECTION 199A W-2 WAGES                                                            1,447,674.
SECTION 199A UNADJUSTED BASIS OF ASSETS                                             423,511.
BUSINESS INTEREST EXPENSE                                                           107,362.




~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                  OTHER CURRENT ASSETS                 STATEMENT 7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
EMPLOYEE ADVANCE                                                    104.              0.
PAYROLL CASH BALANCING                                            4,934.              0.
PREPAID EXPENSES                                                 14,128.              0.
WARRANTY HOLDING                                                    949.              0.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 6                                      20,115.              0.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                      OTHER ASSETS                     STATEMENT 8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SECURITY DEPOSITS                                                14,295.              0.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 13                                     14,295.              0.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                      STATEMENT(S) 6, 7, 8
     Case 2:23-bk-53016   Doc 1    Filed 08/31/23 Entered 08/31/23 11:19:32   Desc Main
ROLL: HOLDINGS, LLC               Document      Page 37 of 45       XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                OTHER CURRENT LIABILITIES              STATEMENT 9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ACCRUED PAYROLL LIABILITIES                                      36,362.              0.
CREDIT CARDS PAYABLE                                            211,325.              0.
CUSTOMER DEPOSITS                                                18,055.              0.
GIFT CERTIFICATES OUTSTANDING                                     6,870.              0.
SALES TAX PAYABLE                                                 3,300.              0.
TAX PAYABLE                                                         575.              0.
UNEARNED INCOME                                                   1,120.              0.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 17                                    277,607.              0.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                    OTHER LIABILITIES                  STATEMENT 10
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ACCRUED INTEREST                                                123,639.              0.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 20                                    123,639.              0.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE M-2                   OTHER INCREASES                   STATEMENT 11
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
PARTNERSHIP TERMINATION                                                             939,591.
                                                                              }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-2, LINE 4                                                       939,591.
                                                                              ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE M-2                   OTHER DECREASES                   STATEMENT 12
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
GUARANTEED PAYMENTS                                                                  97,455.
NONDEDUCTIBLE EXPENSES                                                                   333.
                                                                              }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-2, LINE 7                                                        97,788.
                                                                              ~~~~~~~~~~~~~~




                                                               STATEMENT(S) 9, 10, 11, 12
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ROLL: HOLDINGS, LLC               Document      Page 38 of 45       XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1125-A                      OTHER COSTS                     STATEMENT 13
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
FREIGHT IN/FREIGHT OUT                                                               30,158.
SHIPPING                                                                             45,756.
                                                                              }}}}}}}}}}}}}}
TOTAL TO LINE 5                                                                      75,914.
                                                                              ~~~~~~~~~~~~~~




                                                                              STATEMENT(S) 13
             Case 2:23-bk-53016                  Doc 1       Filed 08/31/23 Entered 08/31/23 11:19:32                             Desc Main
                                                            Document      Page 39 of 45
Fill in this information to identify the case and this filing: 

Debtor Name      roll: Bicycle Company, LLC

United States Bankruptcy Court for the:    Southern District of Ohio

Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the
date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and
3571.


         Declaration and signature


         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
         individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

             Other document that requires a declaration



         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on      8/31/2023
                          MM/DD/YYYY
                                                                                       /s/ Stuart Hunter
                                                                                        Signature of individual signing on behalf of debtor


                                                                                          Stuart Hunter
                                                                                          Printed name

                                                                                          Manager / CEO
                                                                                          Position or relationship to debtor




Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors                                       page 1 of 1
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                 Case 2:23-bk-53016                 Doc 1      Filed 08/31/23 Entered 08/31/23 11:19:32                         Desc Main
                                                              Document      Page 40 of 45
    Fill in this information to identify your case: 

    Debtor Name      roll: Bicycle Company, LLC

    United States Bankruptcy Court for the: Southern District of Ohio                                                               Check if this is an
                                                                                                                                       amended filing
    Case number (If known):




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                12/15
    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
    creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured
    claims.



Name of creditor and complete              Name, telephone          Nature of the claim   Indicate if     Amount of unsecured claim
mailing address, including zip code        number, and email        (for example, trade   claim is
                                           address of creditor      debts, bank loans,    contingent,     If the claim is fully unsecured, fill in only unsecured
                                           contact                  professional          unliquidated,   claim amount. If claim is partially secured, fill in total
                                                                    services, and         or disputed     claim amount and deduction for value of collateral or
                                                                    government                            setoff to calculate unsecured claim.
                                                                    contracts)


                                                                                                          Total claim, if     Deduction for        Unsecured
                                                                                                          partially           value of             claim
                                                                                                          secured             collateral or
                                                                                                                              setoff

1    Friedl Bohme                          fbohm@bohmpartners.com   Term Note                                                                        $152,079.28
     1260 McCoy Rd.                        (614) 592-3022
     Columbus, OH 43220


2    Glick Biz LLC                         Harvey Glick             Term Note                                                                        $152,079.28
     c/o Harvey Glick                      harvey@glick.net
     906 Middle Street                     (614) 565-3200
     Sullivans Island, SC 29482

3    Tucker Bohm                           tuckerbohm@gmail.com     Term Note                                                                          $76,401.99
     533 Lake Shore Dr.                    (614) 554-0337
     Columbus, OH 43204


4    Quality Bicycle Products, Inc.        Maria Scalisi            Inventory                                                                            $5,373.87
     c/o Maria Scalisi                     mscalisi@qbp.com         Purchases
     6400 W. 105th Street                  800.346.0004 x-1915
     Minneapolis, MN 55438




    Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         page 1 of 1
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                                                United States Bankruptcy Court
                                                         Southern District of Ohio
In re   roll: Bicycle Company, LLC                                       Case No.
                                                    Debtor(s)            Chapter      11




                               VERIFICATION OF CREDITOR MATRIX

The above-named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date:     8/31/2023                                                          /s/ Stuart Hunter
                                                                             Stuart Hunter
                                                                             Signature of Debtor




                                                                Creditor Matrix                                       page 1 of 3
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                                                    Fifth Third Bank, N.A.
                                                    21 East State Street
                                                    Columbus, OH 43215



                                                    Friedl Bohme
                                                    1260 McCoy Rd.
                                                    Columbus, OH 43220



                                                    Glick Biz LLC
                                                    c/o Harvey Glick
                                                    906 Middle Street
                                                    Sullivans Island, SC 29482



                                                    JP Morgan Chase
                                                    c/o Bankruptcy Dept.
                                                    1111 Polaris Parkway
                                                    Columbus, OH 43240



                                                    Lynn Harris
                                                    1130 Mount Vernon Ave.
                                                    Columbus, OH 43203



                                                    Quality Bicycle Products, Inc.
                                                    c/o Maria Scalisi
                                                    6400 W. 105th Street
                                                    Minneapolis, MN 55438



                                                    Ryan Hughes
                                                    6597 Masefield St.
                                                    Worthington, OH 43085



                                                    Tucker Bohm
                                                    533 Lake Shore Dr.
                                                    Columbus, OH 43204




                                                                 Creditor Matrix                            page 2 of 3
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                                                    Willie Tatum
                                                    1130 Mount Vernon Ave.
                                                    Columbus, OH 43203



                                                    YDT Sinclair Road, LLC
                                                    942 A Freeway Drive North
                                                    Columbus, OH 43229




                                                                Creditor Matrix                             page 3 of 3
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                                        UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF OHIO
                                              COLUMBUS DIVISION

In re:                                                            Case No.:
roll: Bicycle Company, LLC                                        Chapter:    11




Debtors(s)

                                        CORPORATE OWNERSHIP STATEMENT
                                                 
Pursuant to Bankruptcy Rule 1007(a) or Bankruptcy Rule 7007.1, roll: Bicycle Company, LLC , a

          Corporate Debtor
          Party to an adversary proceeding
          Party to a contested matter
          Member of committee of creditors

makes the following disclosure(s):

         All corporations, other than a governmental unit, that directly or indirectly own ten percent
         (10%) or more of any class of the corporation's equity interests, are listed below:

           roll: Holdings, LLC is the 100% member of the Debtor.




OR
          There are no entities that directly or indirectly own ten percent (10%) or more of any class of
         the corporation's equity interest.


8/31/2023                                 By: /s/ James Coutinho
Date                                          James A. Coutinho
                                                Signature of Attorney or Litigant
                                                Counsel for roll: Bicycle Company, LLC
                                                Allen Stovall Neuman & Ashton LLP
                                                10 West Broad Street, Suite 2400
                                                Columbus, OH 43215
                                                Telephone: (614) 221-8500




                                          CORPORATE OWNERSHIP STATEMENT                          page 1 of 1
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                                                United States Bankruptcy Court
                                                   Southern District of Ohio
In re     roll: Bicycle Company, LLC                                                    Case No.
                                                    Debtors(s)                          Chapter       11


                                           LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor’s equity security holders with is prepared in accordance with rule 1007(a)(3) for filing
in this Chapter 11 Case

Registered Name and last known address or           Security Class          Number of Securities      Kind of Interest
place of business of security holder                                        or Percentage

roll: Holdings, LLC                                                         100%                      Membership Interest
791 South Sixth Street
Columbus, OH 43206


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
         I, the Authorized Agent of the corporation named as the debtor in this case, declare under penalty of perjury that
I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.




Date     8/31/2023                                        Signature     Stuart Hunter
                                                                        Manager / CEO

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




                                                    List of Equity Security Holders                                       page 1 of 1
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